                          Case 2:21-cv-20706-MEF-ESK Document 10-5 Filed 07/07/22 Page 1 of 1 PageID: 91
Activities Export                                                                                                                    07/07/2022
                                                                                                                                        1:41 PM

Date        Type   Description                             Matter              User           Qty    Rate ($)   Non-billable ($)   Billable ($)

07/07/2022         Review of motion for return of          00055-Bell          Daniel        0.80h   450.00                    -      360.00
                    service fees, drafting of changes to    Defamation Matter   Szalkiewicz
                    same, preparation of exhibits, filing
                    of same (.1)(proposed time),
                    service of same on defendant
                    (.1)(proposed time), drafting of
                    certification of service and filing
                    same (.2)(proposed time)
                     Unbilled

07/05/2022         drafting of notice of motion to         00055-Bell          Cali Madia    0.10h   450.00                    -        45.00
                    collect fees and costs for failure to   Defamation Matter
                    return waiver of service
                     Unbilled

07/05/2022         review of case file and drafting of     00055-Bell          Cali Madia    1.80h   450.00                    -      810.00
                    motion to collect fees and costs for    Defamation Matter
                    failure to return waiver of service
                     Unbilled

0      22          Drafting of Request for Entry of        00055-Bell          Cali Madia    0.80h   450.00                    -      360.00
                    Default against Defendant               Defamation Matter
                     Unbilled

06/16/2022         Drafting of motion to reinstate,        00055-Bell          Daniel        1.90h   450.00                    -      855.00
                    filing and serving of same              Defamation Matter   Szalkiewicz
                     Billed invoice 113

06/03/2022         Review of correspondence from           00055-Bell          Daniel        0.10h   450.00                    -        45.00
                    court and counsel, drafting of email    Defamation Matter   Szalkiewicz
                    to same
                     Billed invoice 113

06/03/2022         Postage for expert documents and        00055-Bell          Daniel         1.00     28.70                   -        28.70
                    thumb drive                             Defamation Matter   Szalkiewicz

                                                                                                                            $0.00   $34,891.10
                                                                                                                             0.0h        77.0h

                                                                                                                                            1/14
